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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,                      )
                                               )       Case No. 1:24-CR-00427-JDB
               v.                              )
                                               )
KEVIN MOORE and CAROL MOORE,                   )
                                               )
                       Defendants.             )


                    MOORE’S REPLY TO GOVERNMENT’S OPPOSITION
                    TO MOTION TO MODIFYCONDITIONS OF RELEASE


        Defendants KEVIN MOORE and CAROL MOORE, by and through the undersigned

counsel, respectfully interpose the following reply to the Government’s response to their joint oral

motion requesting permission to attend the Presidential Inauguration on January 20, 2025 in

Washington, D.C.

       Principally, the government seeks to punish the Moore’s for being accused of non-violent

misdemeanors in connection with the events of January 6, 2021, by thwarting their effort to attend

the inauguration of the 47th president of the United States. As has been its practice, the government

conflates and imputes the conduct of others present at the Capitol - to the Moores. They refer to

“thousands of rioters [who] took part in an attack on the U.S. Capitol in an effort to stop the

certification of the results of the election.” They do this knowing, and even admitting in their letter

that the Moores were not charged with riot or obstruction and only with “non-violent

misdemeanors.”

       Indeed, the government has previously described the Moores conduct in a “statement of

facts” which was disclosed to the Moores:




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           “On January 6, 21, between approximately 3:00 PM and 4:00 PM, [the Moores were] on
           the restricted ground of the U.S. Capitol Building. At approximately 3:12 PM, [ the
           Moores] entered the U.S. Capitol Building through the Northwest Door. At approximately
           3:13 PM, [Kevin] Moore took photos in the area near the Senate Wing Door with U.S.
           Capitol Police in the background dressed in riot-gear. [Kevin] Moore can be seen in open-
           source video with alarms going off. 1 Moore exited the U.S. Capitol Building through the
           Northwest Door at approximately 3:20 PM.”


           Thus, for eight minutes, the Moore’s were inside the Capital, at a point long after the

“breach” and the time period during which Capitol Police Officers were using tear gas and rubber

bullets on the those in attendance. Video captures the Moores walking in, talking to Capitol Police

Officers and walking out. A grand total of eight minutes.

           On January 20th, the Moores plan to participate in an organized expression of First

Amendment rights. The plan is that they would if permitted to attend, join others at the

Inauguration with signs displaying the message, “Day One.” These signs, to be displayed in a

lawful manner, outside the Capitol, are designed to impress upon the new president, the public’s

support for immediate pardons of J6 defendants, especially those with no criminal record and no

accusations of violence. Citizens like the Moores. The right to express their view - especially

sacred and profound in this context – at the Capitol and to the new President, implicates issues of

Constitutional proportions. Any possibility of “trauma” to a Capitol Police Officer due to the

attendance of Kevin and Sharon Moore at the inauguration is the definition of “trivial” to borrow

the government’s word.

PRE-TRIAL SERVICES

           The government notes that PSA in DC has “opined that they would not give approval for

the defendants to travel… Gov letter p. 3. The Court should note that supervision of the Moores

was delegated to the Eastern District of New York at the time of their arrest in May of 2024. I have


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    It should be noted that in the surveillance footage provided to the defendants, no audio was included with the video.

                                                             2
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inquired of the assigned officer who has advised; 1) that the Moores have been and continue to be

in complete compliance with their release conditions and that; 2) there was no inquiry from PSA

in DC as to their request for this limited modification request. He also indicated that “for policy

reasons”, the question of consent on this request rested in the hands of PSA DC.

CONCLUSION

       In light of the foregoing, this Court should issue an Order granting the Moores’ request for

modification and permit travel for purposes of attending the Presidential Inauguration on January

20th, 2025 .

Dated: December 19, 2024

                                                            Respectfully submitted,

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